     Case 20-23352-CMB           Doc 228     Filed 02/21/22 Entered 02/21/22 12:42:51              Desc Main
                                            Document     Page 1 of 1
                                           United States Bankruptcy Court
                                           Western District of Pennsylvania

                                                                                  Case
 In re Carol C. Farley                                                            No.         20-23352-CMB
                                                         Debtor(s)                Chapter     7




                                     Notice of Change of Address for the Debtor



My Mailing Address was previously listed as:

Name:                    Carol C. Farley

Street:                  808 Morewood Avenue

City, State and Zip:     Pittsburgh, PA 15213



Please be advised my new mailing address is:


Name:                    Carol C. Farley

Street:                  116 West 8th Apt. 202

City, State and Zip:     Pittsburgh, PA 15215




                                                              /s/ Carol C. Farley
                                                              Carol C. Farley
                                                              Debtor


                                                              Respectfully submitted,
                                                              THE DEBT DOCTORS

          Dated: February 21, 2022                            By: /s/ Matthew M. Herron
                                                              Matthew M. Herron, Esquire
                                                              PA I.D. No.: 88927
                                                              607 College Street, Suite 101
                                                              Pittsburgh, PA 15232
                                                              (412) 395-6001
                                                              mmh@thedebtdoctors.com
